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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                        CRIMINAL NO. 5:05-cr-6(DCB)(JCS)

RONALD WAYNE SHUGART and
ANNETTE M. PIERCE


                                        ORDER

        This cause is before the Court on the following motions:

defendant Annette M. Pierce’s motion to suppress statements (docket

entry     50);   defendant    Ronald    Wayne   Shugart’s    motion    to   sever

defendant or, in the alternative for separate juries (docket entry

54); defendant Shugart’s motion to change venue (docket entry 56);

defendant Shugart’s motion to impanel separate juries (docket entry

58); and the United States’ motion to continue (docket entry 59).

Having carefully considered the motions and responses, the Court

finds as follows:

        The government has responded that it has no intention of

introducing statements by either defendant, so that defendant

Pierce’s     motion   to     suppress    statements   is    moot.      Defendant

Shugart’s motion to sever defendant or, in the alternative for

separate juries was denied by the Court at the motion hearing of

August 18, 2005.       Defendant Shugart’s motion to impanel separate

juries is likewise without merit and shall be denied.

        Defendant Shugart’s motion to change venue alleges that there
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has been extensive publicity related to this case in Warren and

Hinds counties, that the media has been “particularly prejudicial,”

and that the news stories assume that the victim’s stories are true

and that the defendants are guilty.           The sixth amendment requires

that a criminal trial be held in the district in which the alleged

crime occurred.   In re Chesson, 897 F.2d 156, 158 (5th Cir. 1990).

The defendant therefore has a constitutional right to trial in the

Southern   District     of      Mississippi;     however,         he   has       “no

constitutional right to a trial in a particular division within

that district.”       Id. (citations omitted).              An intra-district

transfer is not required absent a strong showing of prejudice.

United   States v. Dickie,       775   F.2d    607,   609    (5th Cir.    1985).

Although there was substantial media coverage of the kidnaping

alleged in this case, the defendant has failed to show that any

publicity was inflammatory and that it resulted in pervasive

community prejudice. See Sheppard v. Maxwell, 384 U.S. 333 (1966).

     The Court shall deny the defendant’s motion; however, the

Court will monitor the jury pool, including questioning prospective

jurors about their pretrial knowledge of the case.                 In addition,

the Court shall hold a telephone conference with counsel regarding

alternative venues. The Gulfport courthouse in unavailable because

of Hurricane Katrina, and the Hattiesburg courthouse is overcrowded

for the same reason.         This leaves only Vicksburg, Jackson and

Natchez as possible locations for trial.


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     The government’s motion to continue was granted by the Court

at the motion hearing of August 18, 2005.        Accordingly,

     IT IS HEREBY ORDERED that defendant Annette M. Pierce’s motion

to suppress statements (docket entry 50) is MOOT;

     FURTHER ORDERED that defendant Ronald Wayne Shugart’s motion

to sever defendant or, in the alternative for separate juries

(docket entry 54) is DENIED;

     FURTHER ORDERED that defendant Shugart’s motion to change

venue (docket entry 56) is DENIED;

     FURTHER ORDERED that defendant Shugart’s motion to impanel

separate juries (docket entry 58) is DENIED;

     FURTHER ORDERED that the United States’ motion to continue

(docket entry 59) is GRANTED.

     SO ORDERED, this the 22nd day of November, 2005.



                              s/ David Bramlette
                            UNITED STATES DISTRICT JUDGE




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